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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              McALLEN DIVISION

GABRIEL MIRANDA, SR. and                 §
MARIA FUENTES, Individually              §
and as Representatives of the Estate     §
of GABRIEL MIRANDA, JR.,                 §
                                         §
       Plaintiffs,                       §
                                         §
V.                                       §
                                         §
NAVISTAR, INC., NAVISTAR                 §
INTERNATIONAL                            § Civil Action No. 7:18-cv-00353
CORPORATION, IC BUS, LLC,                §
and IC BUS OF OKLAHOMA,                  §
LLC,                                     §
                                         §
       Defendants.                       §

        ORDER DENYING DEFENDANTS’ MOTION TO COMPEL

       On this day, upon consideration of Defendants’ Motion to Compel, the Court

concludes the Motion should be denied.

       IT IS THEREFORE ORDERED, ADJUDGED AND DECREED that

Defendants’ Motion to Compel is DENIED.

       SIGNED this          day of                              2019.


                                       ________________________________
                                       JUDGE PRESIDING




ORDER DENYING DEFENDANTS’ MOTION TO COMPEL - Page 1 of 1
